Case 1:24-cv-00990-DFB Documents Filed 07/12/24 Page 1 of 4

STATEMENT/EVIDENCE FOR CASE: 1:24-CV-00990, and 1:24-cv-00869.

On July 9th 2024 | Joshua Anthony Jones, Submitted a Freedom of Information Act request,
pursuant to myself. The Attached copies of the correspondences, happened on July, 10th 2024.
| was unable to file any papers required to Defense Logistics Agency, the case FOIA case was
closed, what was first said to be “to broad of scope” then said to be “improper filing’, 1 never got
an appeal option to OGIS (Office of Government Services). This Freedom of information Act
Request was filed properly, via Government website (FOIA.GOV), with the proper fields filled
out. Having navigated this website multiple times, this website will not let you leave open fields,
fo a FOIA request, which would automatically determine an improper filing. Also if a FOIA
request on one's self is to broad a scope, why is there formal paperwork for such a situation,
scenario, or request? Of said paperwork, | was not able or allowed to file before the case was
closed. This situation and scenario has happened, with many FOIA requests, and the responses
have been very similar. The attached is an example, statement, and evidence of multiple
exchanges with multiple offices regarding Freedom of Information Act Requests.

Sincerely,
Joshua Anthony Jones FILED
HARRISBURG, PA
JUL 12 2024
PER

DEPUTY CLERK
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DEFENSE LOGISTICS AGENCY

HEADQUARTERS
8725 JOHN J. KINGMAN ROAD
FORT BELVOIR, VIRGINIA 22060-6221

July 10, 2024
Joshua Jones
17 Pleasant Street
New Oxford, PA 17350

Dear Mr. Jones:

This letter responds to your July 9, 2024, Freedom of Information Act (FOIA) request,
assigned DLA FOIA case number DLA-DLAF-2024-1191, in which you listed only your SSN
and date of birth.

Individuals seeking records that are ‘about themselves’ accessible under the Privacy Act
(PA) must make the request under the provisions outlined in the applicable Privacy Act System
of Records Notice(s) (SORNs).

A listing of the DLA published SORNs can be found at Privacy. Civil Liberties. and

Freedom af Information Directorate > Privacy > SORNsIndex > DOD Component Notice
DLA Article List (defense.gov), A listing of DoD-Wide SORNs can be found at Privacy. Civil
Liberties. and Freedom of Information Directorate > Privacy > SORNsindex > DOD-Wide

Jotices > DOD-Wide Articte List (defense.gov) and a listing of Government-Wide SORNs can

be found at Government-wide SORNs | FPC gov.

Within each notice you will find a section titled “Record Access Procedures”. To make a
request under the PA, you will need to follow the procedure outlined in the specific system of
record(s) that you are seeking access to and cite the system notice number or name of system that
you are requesting access to records about you. As you are not an employee of the Defense
Logistics Agency, it is unclear in your request how DLA would have any affiliation to any
records about you in order to begin to direct your request to a specified office to search a
specified database for records.

In each request, you must provide one of the following in addition to any other specific
information outlined within the Record Access Procedures:

« A photocopy of a government issued identity document, such as a driver's license
containing your full legal name.

e Either your notarized signature or an unsworn declaration (as described below) made
under penalty of perjury in accordance with 28 U.S.C. 1746.

If executed outside the United States: “I declare (or certify, verify, or state) under
penalty of perjury under the laws of the United States of America that the foregoing is
true and correct.” Executed on (date). (Signature).
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If executed within the United States, its territories, possessions, or commonwealths: “I
declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and
correct.” Executed on (date). (Signature).

If you are seeking records under the Freedom of Information Act (FOIA), DLA is also unable
to consider your request for processing under that statute. The FOIA specifies two requirements
for an access request: It must "reasonably describe” the records sought, and it must be made in
accordance with the agency's published FOIA regulations.

The legislative history of the 1974 FOIA amendments indicates that a description of a
requested record is sufficient if it enables a professional agency employee familiar with the
subject area to locate the record with a "reasonable amount of effort." Courts have explained that
"[t]he rationale for this rule is that FOIA was not intended to reduce government agencies to full-
time investigators on behalf of requesters," or to allow requesters to conduct "fishing
expeditions" through agency files. Accordingly, one FOIA request was held invalid because it
required an agency's FOIA staff to either have "clairvoyant capabilities" to discern the requester's
needs or to spend "countless numbers of personnel hours seeking needles in bureaucratic
haystacks,"

In addition to the "reasonably described" inquiry, courts have held that agencies are not
required to conduct wide-ranging, “unreasonably burdensome" searches for records. Courts
have also required agencies to clarify the scope of the request with the requester, particularly
when doing so Is required by the agency's regulations.

If you want to make a request under the FOIA, you will need to explain exactly which
records, reports, data you are looking for, a time period for the records search, and the DLA
office(s) you believe have the records you are seeking to allow the DLA to conduct an organized,
non-random search for records that shed light upon the agency's operations or business practices.

This concludes the processing of your request from this office as no information was
provided to allow your request to be forwarded to any office to search for records filed under
your name under the Privacy Act, nor for a request to be entered for a search by the FOIA office
to search for records as you have not met the requirement to reasonably describe records being
sought.

Your FOIA request has been closed as an improper FOTA request. This agency decision
concludes the processing of your request(s) referred to above

Sincerely,

DUANE E. MCCARGO
Freedom of Information Act Specialist
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